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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

WILLIAM HAMPTON STEWART, JR.                                CIVIL ACTION

VERSUS                                                      NO: 16-8529-L

MARK E. JENSEN, DDS, NATIONAL UNION                         JUDGE: ELDON E. FALLON
FIRE INSURANCE COMPANY OF
PITTSBURGH, PA AND
SLIDELL DENTAL ASSOCIATES, LLC D/B/A                        MAG: JOSEPH C. WILKINSON, JR.
LOUISIANA DENTAL CENTER
                                                                JURY TRIAL REQUESTED

                         ORDER FOR FINAL DISMISSAL
       NOW INTO COURT, through undersigned counsel comes William Hampton Stewart, Jr,

plaintiff herein, and upon suggesting to this Honorable Court that plaintiff desires a dismissal of

all claims by him in this action against all defendants, Slidell Dental Associates, LLC D/B/A

Louisiana Dental Center, Mark Edward Jensen and National Union Fire Insurance Company of

Pittsburgh, PA, with prejudice;

       IT IS HEREBY ORDERED, that all of the plaintiff’s claims and demands made herein

should be and are hereby dismissed with prejudice, each party to bear its own costs.

       New Orleans, Louisiana, this 8th
                                    ___day of December, 2016.




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